         Case 1:12-cr-00135-AWI-BAM Document 18 Filed 07/05/13 Page 1 of 3


1    BENJAMIN B. WAGNER
     United States Attorney
2    KIMBERLY A. SANCHEZ
     Assistant U.S. Attorney
3    4401 Federal Building
     2500 Tulare Street
4    Fresno, California 93721
     Telephone: (559) 497-4000
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7                   IN THE UNITED STATES DISTRICT COURT FOR THE

8                          EASTERN DISTRICT OF CALIFORNIA

9    UNITED STATES OF AMERICA,           ) 1:12-CR-00135-AWI-BAM
                                         )
10                   Plaintiff,          ) PRELIMINARY ORDER OF
                                         ) FORFEITURE
11             v.                        )
                                         )
12   THEODORE WILLIAMS,                  )
                                         )
13                   Defendant.          )
                                         )
14                                       )
15       Based upon the entry of plea entered by defendant Theodore

16   Williams, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

17       1.    Pursuant to 26 U.S.C. § 5872, 49 U.S.C. § 80303, and 28

18   U.S.C. § 2461(c), defendant Theodore Williams’ interest in the

19   following property shall be condemned and forfeited to the United

20   States of America, to be disposed of according to law:

21             a.   an Armscor of the Philippines, imported by KBI Inc., .22

22                  caliber weapon;

23             b.   all ammunition seized in this case.
24
         2.    The above-listed asset constitutes a firearm involved in or
25
     used in a knowing violation of 26 U.S.C. § 5861(d).
26
         3.    Pursuant to Rule 32.2(b), the Attorney General (or a
27
     designee) shall be authorized to seize the above-listed property.
28
     The aforementioned property shall be seized and held by the United
29                                                   Application for Preliminary Order
                                                     of Forfeiture and Publication
                                            1        Thereof
                           Case 1:12-cr-00135-AWI-BAM Document 18 Filed 07/05/13 Page 2 of 3


1    States Marshals Service and/or the Bureau of Alcohol, Tobacco,

2    Firearms and Explosives in its secure custody and control.

3                          4.    a. Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.

4    § 853(n), and Local Rule 171, the United States shall publish notice

5    of the order of forfeiture.                       Notice of this Order and notice of the

6    Attorney General’s (or a designee’s) intent to dispose of the

7    property in such manner as the Attorney General may direct shall be

8    posted for at least 30 consecutive days on the official internet

9    government forfeiture site www.forfeiture.gov.                          The United States may

10   also, to the extent practicable, provide direct written notice to any

11   person known to have alleged an interest in the property that is the

12   subject of the order of forfeiture as a substitute for published

13   notice as to those persons so notified.

14                               b. This notice shall state that any person, other than the

15   defendant, asserting a legal interest in the above-listed property,

16   must file a petition with the Court within sixty (60) days from the

17   first day of publication of the Notice of Forfeiture posted on the

18   official government forfeiture site, or within thirty (30) days from

19   receipt of direct written notice, whichever is earlier.

20                         5.    If a petition is timely filed, upon adjudication of all

21   third-party interests, if any, this Court will enter a Final Order of

22   Forfeiture pursuant to 26 U.S.C. § 5872, 49 U.S.C. § 80303, and 28

23   U.S.C. § 2461(c), in which all interests will be addressed.

24

25

26
     IT IS SO ORDERED.
27

28   Dated: July 5, 2013
     DEAC_Signature-END:
                                                       SENIOR DISTRICT JUDGE
29                                                                     Application for Preliminary Order
                                                                       of Forfeiture and Publication
                                                              2        Thereof
         Case 1:12-cr-00135-AWI-BAM Document 18 Filed 07/05/13 Page 3 of 3


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29                                                   Application for Preliminary Order
                                                     of Forfeiture and Publication
                                            3        Thereof
